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 4
     Attorney for Defendant
 5   HONG BI ZENG
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 7
 8                              UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
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11                                          )
     UNITED STATES OF AMERICA,              )           Criminal No. 2:06-cr-0390 EJG
12                                          )
                Plaintiff,                  )           STIPULATION AND ORDER
13                                          )           TO CONTINUE PSR SCHED.
           v.                               )           RE: JANUARY 18, 2008
14                                          )           SENTENCING HEARING
     HONG ZENG,                             )
15                                          )
                                            )
16                                          )
                Defendants.                 )
17   _______________________________________)
18
              THE UNDERSIGNED PARTIES HEREBY STIPULATE to the following PSR
19
     disclosure schedule: The Proposed PSR report has already been disclosed; Objections by
20
     February 15, 2008; Final report to the Court February 22, 2008; Defendant’s Sentencing
21
     memorandum due by February 29, 2008.
22
              IT IS SO STIPULATED.
23
24   Dated:       12/ 20/2007                      ________/s/_______________
                                                   ROBERT M. TWISS
25                                                 Counsel for Plaintiff
26
27
     Dated:       12/20 /2007                      _________/s/ ______________
28                                                 JOHN M. RUNFOLA
                                                   Attorney for HONG BI ZENG
      Case 2:06-cr-00390-WBS Document 92 Filed 01/07/08 Page 2 of 2


 1
 2
                                      ORDER
 3
           IT IS SO ORDERED
 4
 5   Dated: _1/7/08________            _/s/ Edward J. Garcia_________
                                              HON. EDWARD J. GARCIA
 6                                            Senior United States District Court Judge
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